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                                                 SGR Energy, Inc.
                                             Statement of Cash Flows
                                                January - December 2020

                                                                              Total
OPERATING ACTIVITIES
EBITDA                                                                            -6,434,435.20
Changes in Working Capital
(Increase) decrease in inventories                                                         0.00
(increase) decrease in accounts recievable                                        -9,420,783.75
(Increase) decrease in total fixed assets                                             23,337.88
Increase (decrease) in accounts payable                                           6,737,971.31
Increase (decrease) in current liabilities                                            20,810.92
Increase (decrease) in long-term liabilities
Net cash provided by operating activities                                        -$9,073,098.84
INVESTING ACTIVITIES
Sale (purchases) of investments                                                            0.00
Net cash provided by investing activities                                 $                0.00
FINANCING ACTIVITIES
Issuance of preferred stock                                                       3,286,942.33
Dividends paid                                                                    1,319,331.69
Net cash provided by financing activities                                 $       4,606,274.02
Net cash increase for period                                                     -$4,466,824.82
Cash at beginning of period                                                      30,075,019.66
Cash at end of period                                                           $25,608,194.84
